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                                      UNITED STATES DISTRICT COURT
                                                   DISTRICT OF ARIZONA

United States of America                                                           Case No.: 23-04082-MJ-001-PCT-CDB

VS.                                                                                DETERMINATION O RELEASE
                                                                                   CONDITIONS       EASE ORDER
Daniel T. Doria                                                                                                               _LODGED
Defendant                                                                                                   _     RECEIVED    _ COPY

IT IS ORDERED the defendant be released subject to the following conditions:                                         APR 1 0 2023
                                                 CONDITIONS OF RELEASE                                          Cl.ERK U S DISTRICT COURT
                                                                                                                   DISTRICT OF ARIZONA
Defendant shall appear as indicated:                                                                        BY                     DEPUTY
DATE: Tuesday, May 9, 2023        TIME: 10:15 a.m. LOCATION: Flagstaff, Arizona
For: D Initial Appearance D Preliminary Hearing IZI Status Hearing D Trial

During the pendency of this case defendant will:
I) Defendant shall appear to answer and submit himself to all further orders and processes of the Court having jurisdiction in this
case.
(2) Defendant shall not commit any federal, state or local criminal offense.
(3) Defendant shall notify the Cout1 of any change of address or telephone number and not leave the United States without permission
of the Cou11.
(4) Defendant shall promise to appear at all proceedings as required and to surrender for service of any sentence imposed.
(5) Defendant shall not consume or possess excessive alcohol or illegal drugs (The use or possession of marijuana, even with a
physician's ce11ification, is not permitted.)
(6) Defendant shall be banned from Coconino, Kaibab, Prescott, and Apache-Sitgreaves National Forests, except for tTaveling through
any state, local and/or federal highways and/or roads.
(7) Defendant shall contact him attorney weekly by 12:00 PM on Friday.
(8) Defendant shall have no direct or indirect contact with the following LS., T.W., L.D., and A.R.

                                       OTHER CONDITIONS OF RELEASE
D Defendant wilI execute an appearance bond approved by the Cou11, or as specified in General Order 14- 16, in the total amount of
- - ~ payable by certified check or money order only.
D Defendant, in order to obtain sobriety, shall remain in the custody of the arresting agency or a pretrial detention fac ility for 12
hours from the time of arrest. ARREST TIME: _ _ __ _ _ _ __ _ __
D If defendant desires to reach a pre-court hearing resolution of this matter, contact _ _ _ _ __ _ _ _ __ _ __
on _ _ _ _ _ _ _ _ _ for a pretrial conference.

                                                    Acknowledgement of Defendant
I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions or
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware that a failure to follow my conditions of
release may result in my release being revoked, a finding of contempt of court, prosecution for committing a crime on release or
prosecution for failure to appear, resulting in additional fines or incarceration.
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